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                                 EXHIBIT C

                                    Notice
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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

                                                             PROMESA
 In re:                                                      Title III

 THE FINANCIAL OVERSIGHT AND                                 No. 17 BK 3283-LTS
 MANAGEMENT BOARD FOR PUERTO RICO,
                                                             (Jointly Administered)
          as representative of
                                                             This filing relates to the
 THE COMMONWEALTH OF PUERTO RICO, et al.,                    Commonwealth, HTA and ERS.
                                 Debtors.


      NOTICE OF THE THREE HUNDRED FORTY-SEVENTH OMNIBUS
  OBJECTION (SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO RICO,
  PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY, AND THE
    EMPLOYEES RETIREMENT SYSTEM OF THE GOVERNMENT OF THE
 COMMONWEALTH OF PUERTO RICO TO MISCLASSIFIED AND OVERSTATED
                              CLAIMS


 IF YOUR CLAIM IS LISTED ON EXHIBIT A TO THE OMNIBUS OBJECTION, IT IS
 LISTED BECAUSE YOU HAVE FILED A PROOF OF CLAIM THAT IS
 INCORRECTLY      OR   IMPROPERLY     CLASSIFIED  AS   A  SECURED,
 ADMINISTRATIVE, OR PRIORITY CLAIM, AND IS IMPROPERLY LOGGED ON
 THE TITLE III CLAIMS REGISTRY IN AN OVERSTATED AMOUNT.
 THE OBJECTION SEEKS TO MODIFY YOUR CLAIM. YOUR CLAIM AS
 MODIFIED BY THE OBJECTION WILL BE PRESERVED FOR DETERMINATION
 AT A LATER DATE AND YOU WILL RECEIVE NOTICE OF ANY FURTHER
 PROCEEDINGS.
 IF YOUR CLAIM IS LISTED ON EXHIBIT A, YOU SHOULD READ THIS NOTICE
 CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY. IF YOU DO NOT HAVE
 AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.

         PLEASE TAKE NOTICE THAT, on June 18, 2021, the Commonwealth of Puerto Rico
(the “Commonwealth”), the Puerto Rico Highways and Transportation Authority (“HTA”) and the
Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS,”
and together with the Commonwealth and HTA, the “Debtors”), by and through the Financial
Oversight and Management Board for Puerto Rico (the “Oversight Board”), as the Debtors’ sole
Title III representative pursuant to section 315(b) of the Puerto Rico Oversight, Management, and
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Economic Stability Act (“PROMESA”), 1 filed the Three Hundred Forty-Seventh Omnibus
Objection (Substantive) of the Commonwealth of Puerto Rico, Puerto Rico Highways and
Transportation Authority, and the Employees Retirement System of the Government of the
Commonwealth of Puerto Rico to Misclassified and Overstated Claims (the “Omnibus Objection”)
with the United States District Court for the District of Puerto Rico (the “Court”). 2


                                           OVERVIEW
       •   PLEASE CHECK IF YOUR CLAIM(S) IS/ARE LISTED ON EXHIBIT A TO
           THE OMNIBUS OBJECTION.
       •   If your claim(s) is/are NOT listed on Exhibit A, your claim will not be affected
           by the Omnibus Objection, and you DO NOT have to do anything.
       •   If your claim(s) is/are listed as “Claims to be Reclassified” on Exhibit A to the
           Omnibus Objection, the Debtors are seeking to modify your claim(s) because, as
           explained in the accompanying Omnibus Objection, your claim(s) is/are overstated,
           and is/are incorrectly or improperly classified as a secured or priority claim. Exhibit
           A provides additional reasons why the Debtors believe your claim should be modified.
       •   Modification of your claim(s) may seek to alter your rights, as set forth in the
           Omnibus Objection. Your claim(s) will be preserved as modified by the Omnibus
           Objection and you will continue to receive notice of any further proceedings.
       •   YOU SHOULD READ THIS NOTICE AND THE OMNIBUS OBJECTION
           CAREFULLY AND DISCUSS IT WITH YOUR ATTORNEY. IF YOU DO NOT
           HAVE AN ATTORNEY, YOU MAY WISH TO CONSULT ONE.
       •   Copies of the Omnibus Objection and all other filings in the Title III Cases are
           available free online at https://cases.primeclerk.com/puertorico.
       •   If you have questions, please contact Prime Clerk LLC at (844) 822-9231 (toll
           free for U.S. and Puerto Rico) or (646) 486-7944 (for international callers),
           available 10:00 a.m. to 7:00 p.m. (Atlantic Standard Time) (Spanish available).


    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF DEMANDED BY THE OMNIBUS OBJECTION
WITHOUT FURTHER NOTICE OR HEARING.

                                      [Additional pages follow]



1
    PROMESA is codified at 48 U.S.C. §§ 2101-2241.
2
    Capitalized terms used but not defined herein shall have the meanings set forth in the Omnibus
    Objection.


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              IMPORTANT NOTICE PURSUANT TO LOCAL RULE 3007-1

Any party against whom this Omnibus Objection has been served, or any other party to the action
who objects to the relief sought herein, shall serve and file a response to the Omnibus Objection
with the clerk’s office of the United States District Court for the District of Puerto Rico by 4:00
p.m. (Atlantic Standard Time) on July 19, 2021 unless otherwise extended, in writing, by the
Debtors. If no response is filed within the time allowed herein, the Omnibus Objection will be
deemed unopposed and may be granted unless: (1) the requested relief is forbidden by law; (2) the
requested relief is against public policy; or (3) in the opinion of the court, the interest of justice
requires otherwise. If you file a timely response, the Court may schedule a hearing.

         Critical Information for Claimants Choosing to File a Response
        Who is Required to File a Response. Any party who disputes the Omnibus Objection is
required to file a response in accordance with the procedures set forth herein. If a party whose
claim is subject to the Omnibus Objection does not file and serve a response in compliance with
the procedures herein, the Court may grant the Omnibus Objection with respect to such claim
without further notice to the claimant.

       Who is NOT Required to File a Response. If you do not oppose the relief sought in the
Omnibus Objection, then you do not need to file a written response to the Omnibus Objection and
you do not need to appear at the hearing on the Omnibus Objection (described below).
Additionally, the Omnibus Objection only applies to the claims listed on Exhibit A to the Omnibus
Objection, a copy of which is available free online at https://cases.primeclerk.com/puertorico. If
your claim is not listed on Exhibit A to the Omnibus Objection, no response is required.

       Deadline for Filing a Response. Your response will be deemed timely only if it is filed
with the Court and served by 4:00 p.m. (Atlantic Standard Time) on July 19, 2021, unless
otherwise extended, in writing, by the Debtors, or upon written request to the Court and order of
the Court extending the deadline.


                       The deadline for filing and serving a response is
                     4:00 p.m. (Atlantic Standard Time) on July 19, 2021.


       Hearing on the Omnibus Objection. If a response is properly filed and served in
accordance with this notice, a hearing on the Omnibus Objection and the response will be held at
9:30 a.m. (Atlantic Standard Time) on August 4, 2021, before The Honorable Laura Taylor
Swain at the United States District Court for the District of Puerto Rico, 150 Carlos Chardón Street,
Federal Building, San Juan, Puerto Rico 00918-1767. If you file a response to the Omnibus


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Objection, then you should plan to appear at the hearing on the Omnibus Objection. The Debtors,
however, reserve the right, on three (3) business days’ notice, to adjourn the hearing with respect
to the Omnibus Objection and the response.

       The Debtors may file a reply to your response or reply in oral argument at the hearing. The
Debtors are permitted to file their reply no later than seven (7) calendar days before the hearing on
the Omnibus Objection and the response.
 THE COURT WILL ONLY CONSIDER YOUR RESPONSE IF YOUR RESPONSE IS
 FILED AND SERVED BY THE RESPONSE DEADLINE IN ACCORDANCE WITH
 THE INSTRUCTIONS SET FORTH IN THIS NOTICE.

       What to File with a Response. Your response to the Omnibus Objection must contain the
following information.
  (i)     Contact Information. The response must include a name, address, telephone
          number, and email address of either (1) the responding claimant; (2) the claimant’s
          attorney or designated representative to whom the attorneys for the Debtors should
          serve a reply to the response, if any; or (3) the party with authority to reconcile, settle,
          or otherwise resolve the Omnibus Objection on the claimant’s behalf.
  (ii)    Caption. The response must contain a caption stating the name of the Court, the
          names of the Debtors, the case number, the title of the Omnibus Objection to which
          the response is directed, and the proof of claim number(s) related thereto from Prime
          Clerk (which are listed on Exhibit A to the Omnibus Objection and available free
          online at https://cases.primeclerk.com/puertorico).
  (iii)   Reason(s) for Opposing the Omnibus Objection. The response must contain a
          concise statement setting forth the reasons why the Court should not grant the
          Omnibus Objection with respect to your Claim, including the factual and legal bases
          upon which the claimant will rely in opposing the Omnibus Objection.
  (iv)    Supporting Documentation. To the extent not already included with the proof of
          claim, the response should include a copy of any other documentation or other
          evidence of the claim, upon which the claimant will rely in opposing the Omnibus
          Objection; provided, however, that the claimant need not disclose confidential,
          proprietary, or otherwise protected information in the response; and provided, further,
          that the claimant shall disclose to the Commonwealth all information and provide
          copies of all documents that the claimant believes to be confidential, proprietary, or
          otherwise protected and upon which the claimant intends to rely in support of its
          claim, subject to appropriate confidentiality constraints.
  (v)     Signature. You must sign your response. If you do not sign your response, the clerk
          will not accept it for filing.

IMPORTANT NOTICE REGARDING SENSITIVE INFORMATION CONTAINED IN A
RESPONSE.




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      All materials submitted to the Court in response to the Omnibus Objection may be publicly
      filed and accessible to any member of the public. Therefore, the response should not
      include sensitive documents or information, such as copies of driver’s licenses, passports,
      birth certificates, Social Security cards, sensitive medical information or confidential
      business information. Sensitive information submitted to the Court in response to the
      Omnibus Objection must adhere to the following guidelines:

          •   Social Security numbers and taxpayer identification numbers should be redacted
              (that is, blacked out), except for their last four digits.

          •   Birthdays should be redacted, except for the year of an individual’s birth.

          •   The name of any individual known to be a minor should be redacted, except for that
              person’s initials.

          •   Financial account numbers should be redacted, except for their last four digits.

      Any such sensitive or confidential information upon which a claimant relies in support of
      its claim must be provided directly to counsel for the Debtors, and will be kept confidential.
      You may provide this information by mailing it to the following address:


                     Counsel for the Oversight Board
                     Proskauer Rose LLP
                     Eleven Times Square
                     New York, New York 10036-8299
                     Attn: Martin J. Bienenstock
                     Brian S. Rosen

Where and How to File and Serve a Response. Every response should be filed electronically
with the Court on the docket of In re Commonwealth of Puerto Rico, Case No. 17 BK 3283-LTS.
There are two methods that you can use to file your response:
   1. Online. Registered users of the Court’s case filing system must file their response
      electronically in searchable portable document format.
   2. By Mail. If you are not an attorney who is a registered user of the Court’s case filing
      system, you may file and serve a response by mailing it to the Court’s Clerk’s office,
      the Oversight Board, and the Creditors’ Committee at the following addresses:
                Clerk’s Office
                United States District Court
                Room 150 Federal Building
                San Juan, Puerto Rico 00918-1767

                Counsel for the Oversight Board
                Proskauer Rose LLP
                Eleven Times Square
                New York, New York 10036-8299


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                 Attn: Martin J. Bienenstock
                 Brian S. Rosen

                 Counsel for the Creditors’ Committee
                 Paul Hastings LLP
                 200 Park Avenue
                 New York, New York 10166
                 Attn: Luc A. Despins
                 James Bliss
                 James Worthington
                 G. Alexander Bongartz

YOUR RESPONSE must be mailed so as to be received by the Clerk’s Office, the Oversight
Board, and the Creditors’ Committee no later than 4:00 p.m. (Atlantic Standard Time) on July
19, 2021, unless otherwise extended by the Debtors, in writing, or upon a written request to the
Court and order of the Court extending the deadline.
In the event that you are unable to file and serve a response online or by mail as specified above,
you may file a response in person at the following address by no later than 4:00 p.m. (Atlantic
Standard Time) on July 19, 2021, unless otherwise extended by the Debtors, in writing, or upon
a written request to the Court and order of the Court extending the deadline:

                 Clerk’s Office
                 United States District Court
                 #150 Chardon Avenue
                 Federal Building
                 San Juan, Puerto Rico 00918

A certificate of service should be included with your response explaining how service was
accomplished.
If you have any questions about filing and serving a response, including questions about the
Court’s case filing system, please contact the Prime Clerk hotline at (844) 822-9231.

Reservation of Rights. NOTHING IN THE OMNIBUS OBJECTION OR THIS NOTICE IS OR
SHALL BE DEEMED TO CONSTITUTE A WAIVER OF ANY RIGHTS OF THE
COMMONWEALTH, COFINA, HTA, ERS, PREPA, PBA, OR ANY OTHER PARTY IN
INTEREST IN THE TITLE III CASES TO DISPUTE ANY CLAIMS, ASSERT
COUNTERCLAIMS, RIGHTS OF OFFSET OR RECOUPMENT, OR DEFENSES, OBJECT TO
CLAIMS (OR OTHER CLAIMS OR CAUSES OF ACTION OF A CLAIMANT) ON ANY
GROUNDS NOT PREVIOUSLY RAISED IN AN OBJECTION, UNLESS THE COURT HAS
ALLOWED A CLAIM OR ORDERED OTHERWISE, OR SEEK TO ESTIMATE ANY CLAIM
AT A LATER DATE. AFFECTED PARTIES WILL BE PROVIDED APPROPRIATE NOTICE
THEREOF AT SUCH TIME.




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                  Additional Resources and Who to Contact with Questions

All documents filed in the Title III Cases, including copies of claims filed using CM/ECF, are
available free online at https://cases.primeclerk.com/puertorico. This website is maintained by
Prime Clerk and includes a searchable database to assist with locating documents.

If you require additional information regarding the Omnibus Objection, the status of your response,
your claim, or this notice, please contact the Prime Clerk hotline at (844) 822-9231 (toll free for
U.S. and Puerto Rico) or (646) 486-7944 (for international callers), available 10:00 a.m. to 7:00
p.m. (Atlantic Standard Time) (Spanish available). Inquiries may also be sent via email to
puertoricoinfo@primeclerk.com.




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                                  ANEXO C

                                  Notificación
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                  TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                       PARA EL DISTRITO DE PUERTO RICO

                                                             PROMESA
 In re:                                                      Título III

 JUNTA DE SUPERVISIÓN Y                                      Núm. 17 BK 3283-LTS
 ADMINISTRACIÓN FINANCIERA PARA PUERTO
 RICO,                                                       (Administrado Conjuntamente)

          como representante del                             La presente radicación guarda
                                                             relación con el ELA, el SRE y la
 ESTADO LIBRE ASOCIADO DE PUERTO RICO et                     ACT.
 al.,

                               Deudores.


 NOTIFICACIÓN DE LA TRICENTÉSIMA CUADRAGÉSIMA SÉPTIMA OBJECIÓN
 GLOBAL (SUSTANTIVA) DEL ESTADO LIBRE ASOCIADO DE PUERTO RICO, DE
  LA AUTORIDAD DE CARRETERAS Y TRANSPORTACIÓN DE PUERTO RICO Y
 DEL SISTEMA DE RETIRO DE LOS EMPLEADOS DEL GOBIERNO DEL ESTADO
  LIBRE ASOCIADO DE PUERTO RICO A RECLAMACIONES ERRÓNEAMENTE
                  CLASIFICADAS Y SOBREESTIMADAS


 SI SU RECLAMACIÓN APARECE EN EL ANEXO A DE LA OBJECIÓN GLOBAL,
 ES PORQUE USTED HA RADICADO UNA EVIDENCIA DE RECLAMACIÓN QUE
 ESTÁ INCORRECTA O INDEBIDAMENTE CLASIFICADA COMO UNA
 RECLAMACIÓN GARANTIZADA, ADMINISTRATIVA O PRIORITARIA, Y SE HA
 ANOTADO INCORRECTAMENTE EN EL REGISTRO DE RECLAMACIONES DE
 TÍTULO III POR UN MONTO SOBREESTIMADO.

 LA OBJECIÓN PRETENDE MODIFICAR SU RECLAMACIÓN. SU RECLAMACIÓN,
 MODIFICADA POR LA OBJECIÓN, SERÁ PRESERVADA A EFECTOS DE LA
 DETERMINACIÓN EN UNA FECHA POSTERIOR, Y USTED RECIBIRÁ UNA
 NOTIFICACIÓN RELATIVA A CUALQUIER PROCEDIMIENTO ADICIONAL.
 SI SU RECLAMACIÓN APARECE EN EL ANEXO A, DEBERÁ LEER
 DETENIDAMENTE ESTA NOTIFICACIÓN Y COMENTARLA CON SU ABOGADO.
 SI NO TIENE ABOGADO, ES POSIBLE QUE DESEE ACUDIR A UNO.

        OBSÉRVESE QUE el 18 de junio de 2021, el Estado Libre Asociado de Puerto Rico (el
"ELA"), de la Autoridad de Carreteras y Transportación de Puerto Rico (la "ACT") y del Sistema
de Retiro de los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico (el "SRE", y
junto con el ELA y la ACT, los "Deudores"), a través de la Junta de Supervisión y Administración
Financiera para Puerto Rico (la "Junta de Supervisión"), como el único representante de Título III
de los Deudores conforme a la sección 315(b) de la Ley para la Supervisión, Administración y
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Estabilidad Económica de Puerto Rico ("PROMESA"), 1 radicaron la Tricentésima cuadragésima
séptima objeción global (sustantiva) del Estado Libre Asociado de Puerto Rico, de la Autoridad
de Carreteras y Transportación de Puerto Rico y del Sistema de Retiro de los Empleados del
Gobierno del Estado Libre Asociado de Puerto a Reclamaciones erróneamente clasificadas y
sobreestimadas (la "Objeción Global") ante el Tribunal de Distrito de los Estados Unidos para el
Distrito de Puerto Rico (el "Tribunal"). 2


                                            SÍNTESIS
       •   COMPRUEBE SI SU(S) RECLAMACIÓN(ES) SE MENCIONA(N) EN EL
           ANEXO A DE LA OBJECIÓN GLOBAL.
       •   Si su(s) reclamación(es) NO se menciona(n) en el Anexo A, la Objeción Global no
           afectará a su reclamación, por lo que NO tendrá que realizar ninguna acción.
       •   Si su(s) reclamación(es) figura(n) como "Reclamaciones que han de ser
           reclasificadas" en el Anexo A de la Objeción Global, los Deudores pretenden
           modificar su(s) reclamación(es) porque, como se explica en la Objeción Global
           adjunta, su(s) reclamación(es) está(n) sobreestimada(s) e incorrecta o indebidamente
           clasificada(s) como reclamación garantizada o prioritaria. En el Anexo A se exponen
           las razones adicionales por las que los Deudores creen que su reclamación debe ser
           modificada.
       •   La modificación de su(s) reclamación(es) puede buscar alterar sus derechos, tal
           como se establece en la Objeción Global. Su(s) reclamación(es) se mantendrá(n)
           tal como han sido modificada(s) por la Objeción Global y usted seguirá
           recibiendo notificación de cualquier otro procedimiento adicional.
       •   DEBERÁ LEER CUIDADOSAMENTE ESTA NOTIFICACIÓN Y LA OBJECIÓN
           GLOBAL Y HABLAR SOBRE ESTAS CON SU ABOGADO. SI NO TIENE
           ABOGADO, ES POSIBLE QUE DESEE ACUDIR A UNO.
       •   Copias de la Objeción Global, y todos los escritos radicados en el marco de los Casos
           de      Título    III,    están   disponibles,      de    manera      gratuita,    en
           https://cases.primeclerk.com/puertorico.
       •   Si tiene alguna pregunta, comuníquese con Prime Clerk LLC llamando al (844)
           822-9231 (número gratuito para Estados Unidos y Puerto Rico) o (646) 486-7944
           (para llamadas desde el extranjero), disponible entre las 10:00 a.m. y las 7:00
           p.m. (AST) (hablamos español).




1
    PROMESA ha sido codificada en el Título 48 U.S.C., §§ 2101 a 2241.
2
    Los términos en mayúscula utilizados que no estén definidos en el presente documento tendrán
    el significado que les haya sido atribuido en la Objeción Global.


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     SI NO CONTESTA CONFORME A LA PRESENTE NOTIFICACIÓN, EL
TRIBUNAL PODRÁ CONCEDER EL REMEDIO SOLICITADO EN LA OBJECIÓN
GLOBAL SIN OTRA NOTIFICACIÓN NI VISTA.

                                    [Siguen páginas adicionales]

      NOTIFICACIÓN IMPORTANTE CONFORME A LA REGLA LOCAL 3007-1

Cualquiera de las partes a la que se haya notificado la presente Objeción Global, o cualquier otra
parte de la acción que objete al remedio aquí solicitado, deberá radicar y enviar una réplica a la
Objeción Global ante la secretaría del Tribunal de Distrito de los Estados Unidos para el Distrito
de Puerto Rico antes de las 04:00 p.m. (AST) del 19 de julio de 2021, salvo extensión por escrito
por parte de los Deudores. Si no se radica ninguna réplica en el plazo mencionado, se considerará
que no hay oposición a la Objeción Global, por lo que esta podrá ser concedida, salvo que: 1) el
remedio solicitado esté legalmente prohibido; 2) el remedio solicitado sea contrario al orden
público; o 3) a criterio del Tribunal, el interés de la justicia exija otra cosa. Si radica una réplica
en los plazos establecidos, el Tribunal podrá convocar una vista.

  Información muy importante para los Reclamantes que elijan radicar una
                                réplica
        Quién tiene la obligación de radicar una réplica. Cualquiera de las partes que impugne
la Objeción Global tiene la obligación de radicar una réplica de conformidad con los
procedimientos aquí establecidos. Si la parte cuya reclamación quede sujeta a la Objeción Global
no radica ni notifica una réplica de conformidad con los procedimientos aquí establecidos, el
Tribunal podrá conceder la Objeción Global en relación con tal reclamación sin más notificaciones
al reclamante.

        Quién NO tiene la obligación de radicar una réplica. Si usted no se opone al remedio
solicitado en la Objeción Global, no tendrá que radicar ninguna réplica por escrito a la Objeción
Global ni tendrá que comparecer en la vista sobre la Objeción Global (según se explica abajo).
Además, la Objeción Global solo se aplica a las reclamaciones mencionadas en el Anexo A de la
Objeción Global, cuya copia está disponible en línea, de manera gratuita, en
https://cases.primeclerk.com/puertorico. Si su reclamación no se menciona en el Anexo A de la
Objeción Global, no será necesario radicar ninguna réplica.

       Fecha límite para radicar una réplica. Su réplica se considerará radicada dentro de los
plazos establecidos solo si la radica ante el Tribunal y la notifica antes de las 04:00 p.m. (AST)
del 19 de julio de 2021, salvo extensión por escrito por parte de los Deudores o previa solicitud
por escrito dirigida al Tribunal y una orden del Tribunal que extienda la fecha límite.


             La fecha límite para radicar y notificar una réplica se cumple a las
                          04:00 p.m. (AST) del 19 de julio de 2021.




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        Vista sobre la Objeción Global. Si se radica y notifica una réplica de manera adecuada
conforme a la presente notificación, se celebrará una vista sobre la Objeción Global y la réplica a
las 09:30 a.m. (AST) del 4 de agosto de 2021 ante su señoría, Laura Taylor Swain, en el Tribunal
de Distrito de los Estados Unidos para el Distrito de Puerto Rico, 150 Carlos Chardón Street,
Federal Building, San Juan, Puerto Rico 00918-1767. Si radica una réplica a la Objeción Global,
deberá planear comparecer en la vista sobre la Objeción Global. Sin embargo, los Deudores se
reservan el derecho, previa notificación con tres (3) días hábiles de antelación, a paralizar la vista
en relación con la Objeción Global y la réplica.

        Los Deudores podrán radicar una contestación a su réplica o contestación en un alegato
oral durante la vista. Los Deudores podrán radicar su contestación en un plazo máximo de siete
(7) días naturales antes de la celebración de la vista sobre la Objeción Global y la réplica.
 EL TRIBUNAL SOLO TENDRÁ EN CONSIDERACIÓN SU RÉPLICA SI ESTA SE
 RADICA Y NOTIFICA ANTES DE LA FECHA LÍMITE PARA RESPONDER DE
 CONFORMIDAD CON LAS INSTRUCCIONES ESTABLECIDAS EN LA PRESENTE
 NOTIFICACIÓN.

        Lo que hay que radicar con la réplica. Su réplica a la Objeción Global deberá contener
la siguiente información:
  (i)     Datos de contacto. La réplica deberá contener el nombre, la dirección, el número
          de teléfono y la dirección de correo electrónico 1) del reclamante que responda; 2)
          del abogado o representante designado del reclamante al que los abogados de los
          Deudores deban notificar una contestación a la réplica, en su caso; o 3) de la parte
          con potestad para reconciliar, llegar a un acuerdo o de otro modo resolver la Objeción
          Global en nombre del reclamante.
  (ii)    Epígrafe. La réplica deberá contener un epígrafe que refleje el nombre del Tribunal,
          los nombres de los Deudores, el número de procedimiento, el Título de la Objeción
          Global con la que guarde relación la réplica, y el/los número(s) de las evidencias de
          reclamaciones relacionados de Prime Clerk (que se mencionan en el Anexo A de la
          Objeción Global y están disponibles en línea, de manera gratuita, en
          https://cases.primeclerk.com/puertorico).
  (iii)   Motivo(s) para oponerse a la Objeción Global. La réplica deberá contener una
          declaración concisa que establezca los motivos por los que el Tribunal no deba
          conceder la Objeción Global en relación con su Reclamación, incluidas las bases de
          hecho y de derecho que el reclamante vaya a invocar al oponerse a la Objeción
          Global.
  (iv)    Documentación justificativa. En la medida en que ya no esté incluida en la
          evidencia de reclamación, la réplica deberá contener una copia de cualquier otra
          documentación u otras evidencias relativas a la reclamación que el reclamante vaya
          a invocar al oponerse a la Objeción Global; con la salvedad de que el reclamante no
          tendrá que revelar en la réplica información confidencial, reservada o protegida de
          cualquier otra forma; y también con la salvedad de que el reclamante revelará al ELA
          toda la información y proporcionará copias de la totalidad de los documentos que
          considere que son confidenciales, reservados o protegidos de cualquier otra forma y


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         que tenga la intención de invocar en apoyo de su reclamación, con sujeción a las
         restricciones de confidencialidad pertinentes.
  (v)    Firma. Usted deberá firmar su réplica. Si no lo hace, el secretario no aceptará la
         réplica a efectos de su radicación.

NOTIFICACIÓN IMPORTANTE SOBRE INFORMACIÓN SENSIBLE CONTENIDA
EN LAS RÉPLICAS.

        Todos los materiales sometidos al Tribunal en respuesta a la Objeción Global podrán
        radicarse públicamente y quedar accesibles para la población en general. En consecuencia,
        la réplica no debe incluir documentos ni información sensibles; por ejemplo, copias de
        licencias de conducir, pasaportes, partidas de nacimiento, tarjetas del Seguro Social,
        información médica sensible o información comercial confidencial. La información
        sensible sometida al Tribunal en respuesta a la Objeción Global debe cumplir con las
        siguientes directrices:

           •   Los números del Seguro Social y los números de identificación contributiva deben
               ocultarse (esto es, tacharse), salvo los últimos cuatro dígitos.

           •   Los días de cumpleaños deben ocultarse, salvo el año de nacimiento de la persona.

           •   El nombre de cualquier persona que se sepa que es menor de edad debe ocultarse,
               salvo las letras iniciales de la persona.

           •   Los números de cuentas financieras deben ocultarse, salvo los últimos cuatro
               dígitos.

        Dicha información sensible o confidencial que los reclamantes invoquen en apoyo de su
        reclamación debe proporcionarse directamente al abogado de los Deudores, y se mantendrá
        en confidencialidad. Usted podrá proporcionar esta información enviándola por correo a la
        siguiente dirección:


                      Abogados de la Junta de Supervisión (Counsel for the Oversight Board)
                      Proskauer Rose LLP
                      Eleven Times Square
                      New York, New York 10036-8299
                      Attn: Martin J. Bienenstock
                      Brian S. Rosen

Dónde y cómo radicar y notificar una réplica. Todas las réplicas deberán radicarse de forma
electrónica ante el Tribunal con el nombre de expediente In re: Estado Libre Asociado de Puerto
Rico, Caso núm. 17 BK 3283-LTS. Hay dos métodos que puede utilizar para radicar su réplica:
    1. En línea. Los usuarios inscritos en el sistema de radicación de casos del Tribunal
       deberán radicar su réplica de forma electrónica en un formato pdf susceptible de
       búsqueda.


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   2. Por correo postal. Si usted no es un abogado que sea usuario inscrito en el sistema de
      radicación de casos del Tribunal, podrá radicar y notificar una réplica por correo postal
      dirigida a la Secretaría del Tribunal, a la Junta de Supervisión y al Comité de
      Acreedores a las siguientes direcciones:
                 Secretaría (Clerk’s Office)
                 Tribunal de Distrito de los Estados Unidos (United States District Court)
                 Sala 150 Edificio Federal (Federal Building)
                 San Juan (Puerto Rico) 00918-1767

                 Abogados de la Junta de Supervisión (Counsel for the Oversight Board)
                 Proskauer Rose LLP
                 Eleven Times Square
                 New York, New York 10036-8299
                 Attn: Martin J. Bienenstock
                 Brian S. Rosen

                 Abogados del Comité de Acreedores (Counsel for the Creditors’ Committee)
                 Paul Hastings LLP
                 200 Park Avenue
                 New York, New York 10166
                 Attn: Luc A. Despins
                 James Bliss
                 James Worthington
                 G. Alexander Bongartz

SU RÉPLICA deberá enviarse por correo para ser recibida por la Secretaría, la Junta de
Supervisión y el Comité de Acreedores a más tardar a las 04:00 p.m. (AST) del 19 de julio de
2021, salvo extensión por escrito por parte de los Deudores o previa solicitud por escrito dirigida
al Tribunal y una orden del Tribunal que extienda la fecha límite.
Si no puede radicar y notificar una réplica en línea o por correo postal, según se especificó
anteriormente, podrá radicar una réplica en persona en la siguiente dirección a más tardar a las
04:00 p.m. (AST) del 19 de julio de 2021, salvo extensión por escrito por parte de los Deudores
o previa solicitud por escrito dirigida al Tribunal y una orden del Tribunal que extienda la fecha
límite:

                 Secretaría (Clerk’s Office)
                 Tribunal de Distrito de los Estados Unidos (United States District Court)
                 #150 Avenida Chardón
                 Edificio Federal (Federal Building)
                 San Juan (Puerto Rico) 00918

Su réplica deberá incluir un certificado de notificación que indique la forma en la que se ha
efectuado la notificación.




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Si tiene alguna pregunta sobre cómo radicar y notificar una réplica, incluidas preguntas sobre el
sistema de radicación de casos del Tribunal, comuníquese con Prime Clerk llamando al número
directo (844) 822-9231.

Reserva de derechos. NINGUNA DISPOSICIÓN CONTENIDA EN LA OBJECIÓN GLOBAL
O EN LA PRESENTE NOTIFICACIÓN CONSTITUYE NI SE CONSIDERARÁ QUE
CONSTITUYA UNA RENUNCIA A CUALESQUIERA DERECHOS DEL ELA, COFINA, LA
ACT, EL SRE, LA AEE, LA AEP O DE CUALQUIER OTRA PARTE INTERESADA EN
RELACIÓN CON LOS CASOS DE TÍTULO III, A IMPUGNAR CUALESQUIERA
RECLAMACIONES; A HACER VALER CONTRARRECLAMACIONES, DERECHOS A
COMPENSACIÓN O RECUPERACIÓN, O CONTESTACIONES; A OBJETAR A LAS
RECLAMACIONES (O A OTRAS RECLAMACIONES O CAUSAS RADICADAS DE UN
RECLAMANTE) O A CUALESQUIERA MOTIVOS QUE NO SE HAYAN ALEGADO
PREVIAMENTE EN UNA OBJECIÓN, SALVO QUE EL TRIBUNAL HAYA CONCEDIDO
UNA RECLAMACIÓN O HAYA ORDENADO OTRA COSA; O A SOLICITAR QUE SE
ESTIME CUALQUIER RECLAMACIÓN EN EL FUTURO. A SU DEBIDO TIEMPO, LAS
PARTES AFECTADAS RECIBIRÁN LA NOTIFICACIÓN PERTINENTE DE TODO ELLO.


    Recursos adicionales y con quién comunicarse en el caso de que tenga que formular
                                        preguntas

Todos los documentos radicados en el marco de los Casos de Título III, incluidas copias de las
reclamaciones radicadas utilizando CM/ECF, se encuentran disponibles en línea, de manera
gratuita, en https://cases.primeclerk.com/puertorico. El mantenimiento de dicho sitio web lo
realiza Prime Clerk; el sitio web incluye una base de datos que permite efectuar búsquedas y que
ayuda a localizar documentos.

Para obtener información adicional sobre la Objeción Global, el estado de su réplica, su
reclamación o la presente notificación, comuníquese con Prime Clerk llamando a su número
directo (844) 822-9231 (número gratuito para Estados Unidos y Puerto Rico) o al (646) 486-7944
(para llamadas desde el extranjero), disponibles entre las 10:00 a.m. y las 07:00 p.m. (AST)
(hablamos español). También podrá enviar consultas a la siguiente dirección de correo electrónico:
puertoricoinfo@primeclerk.com.




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